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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------X
CORNELL HOLDEN and MIGUEL MEJIA, on                :
behalf of themselves and all others similarly      :
situated,                                          :
                                                   :
                                Plaintiffs,        :
                                                   :
        -against-                                  :
                                                   :           1:17-cv-02192-JGK-RWL
THE PORT AUTHORITY OF NEW YORK AND :
NEW JERSEY; THE PORT AUTHORITY                     :
POLICE DEPARTMENT; and MICHAEL                     :
OPROMALLA, SHAUN KEHOE, JOHN TONE, :
JORDAN ESPOSITO, MICHAEL DEMARTINO, :
RICHARD AYLMER, PAUL MILLER, JOHN                  :
FITZPATRICK, PAUL O’DELL and OFFICERS :
JOHN DOE 1-99, sued in their individual capacities :
and official capacities as officers of the Port    :
Authority Police Department,                       :

                     Defendants.
------------------------------------X



              NOTICE OF MOTION FOR PARTIAL RECONSIDERATION


       PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law in Support
of Plaintiffs’ Motion for Partial Reconsideration, Plaintiffs will move this Court pursuant to
Local Rule 6.3 of the Southern and Eastern Districts of New York. Plaintiffs respectfully request
that the Court enter an Order withdrawing the portion of the February 26, 2020 Order concerning
Plaintiffs’ standing for injunctive relief. ECF No. 198 (“February 26 Order”).
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March 11, 2020                            Respectfully Submitted,

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